
		
OSCN Found Document:RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2024 OK 11Decided: 03/04/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 11, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION

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RE: Suspension of Certificates of Certified Shorthand Reporters



ORDER



The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma the suspension of the certificate of each of the Oklahoma Certified Shorthand Court Reporters listed on the attached Exhibit for failure to comply with the annual certificate renewal requirements for 2024.

Pursuant to 20 O.S., Chapter 20, App. 1, Rules 20(c) and 23(d), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date.

IT IS THEREFORE ORDERED that the certificate of each of the court reporters named on the attached Exhibit is hereby suspended effective March 4, 2024.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 4TH day of MARCH, 2024.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR


_Court Reporters Exhibit A

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			Name
			
			
			CSR #
			
			
			Reason
			
		
		
			
			Shea Aleman

			&nbsp;

			Lisa Buckles

			Kortney Houts

			&nbsp;

			Marlene Johnson

			Suelynn Morgan

			Melissia Prawl
			
			
			2034

			&nbsp;

			1052

			1804

			&nbsp;

			322

			1397

			1751
			
			
			Renewal Fee and Continuing Education

			Renewal Fee and Continuing Education

			Renewal Fee and Continuing Education

			Renewal Fee

			Continuing Education

			Continuing Education
			
		
	



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